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2024R00907/RTM.

UNITED STATES DISTRICT COURT 4
DISTRICT OF NEW JERSEY AR 20 ape

UNITED STATES OF AMERICA : Hon. Robert Kirsch
Vv. Crim. No. 25- CR-160-1

CARLO M. DE LEON DE JESUS : 18 U.S.C. § 922(a)(1)(A)
: 18 U.S.C. § 923(a)
18 U.S.C. § 924(a)(1)(D)
18 U.S.C. § 922(a)(5)
18 U.S.C. § 933(a)(1)
21 U.S.C. § 846
21 U.S.C. §§ 841(a)(1) and (b)(1)(C)

INFORMATION

The defendant having waived in open court prosecution by Indictment, the
United States Attorney for the District of New Jersey charges:

COUNT ONE
(Dealing Firearms Without a License)

Between in or around July 2023 and in or around September 2023, in Essex
County, in the District of New Jersey and elsewhere, the defendant,
CARLO M. DE LEON DE JESUS,
not being a licensed dealer in firearms within the meaning of Chapter 44, Title 18,
United States Code, did willfully engage in the business of dealing in firearms, or in
the course of such business, did transport a firearm in interstate commerce.
In violation of Title 18, United States Code, Sections 922(a)(1)(A), 923(a), and

924(a)(1)(D).
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COUNT TWO
(Transferring Firearms to an Out-of-State Resident)

Between in or around July 2023 and in or around September 20238, in Essex

County, in the District of New Jersey and elsewhere, the defendant,
CARLO M. DE LEON DE JESUS,

not being a licensed dealer of firearms within the meaning of Chapter 44, Title 18,
United States Code, did willfully transport firearms, namely, a (i) Glock 19 pistol,
bearing serial number AEFF317; Gi) an Extreme Gun Works X15, short barrel 5.56
caliber rifle, bearing serial number X15-00211; G1) a Century Arms International AK
variant style rifle, bearing serial number RC8634; and Gv) one Beretta ARX 160, .22
LR semi-automatic handgun, bearing serial number PB010073, to another person,
said person not being a licensed importer, manufacturer, dealer, or collector of
firearms, within the meaning of Chapter 44, Title 18, United States Code, and
knowing and with reasonable cause to believe that said person was not then residing
in the State of New Jersey, the State in which the defendant was residing at the time
of the transfer of the firearm.

In violation of Title 18, United States Code, Sections 922(a)(5) and

924(a)(1)(D).
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COUNT THREE
(Firearms Trafficking)

Between in or around July 2023 through in or around September 20238, in
Essex County, in the District of New Jersey and elsewhere, the defendant,
CARLO M. DE LEON DE JESUS,
did knowingly and willfully ship, transport, transfer, cause to be transported, and
otherwise dispose of firearms to another person in and otherwise affecting interstate
and foreign commerce, knowing and with reason to believe that the use, carrying, and
possession of firearms by the recipient would constitute a felony.

In violation of Title 18, United States Code, Section 938(a)(1).
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COUNT FOUR
(Conspiracy to Distribute Controlled Substances)

From in or around August 2023 to in or around September 2028, in Essex
County, in the District of New Jersey and elsewhere, the defendant,

CARLO M. DE LEON DE JESUS,

did knowingly and intentionally conspire and agree with others to distribute and
possess with intent to distribute a quantity of a mixture and substance containing a
detectable amount of fentanyl, a Schedule II controlled substance, a quantity of a
mixture and substance containing a detectable amount of cocaine, a Schedule II
controlled substance, and a quantity of a mixture and substance containing a
detectable amount of heroin, a Schedule I controlled substance, contrary to Title 21,
United States Code, Sections 841(a)(1) and (b)(1)(C).

In violation of Title 21, United States Code, Section 846.
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FORFEITURE ALLEGATION ONE

Upon conviction of the firearms offenses in violation of Title 18, United States
Code, Sections 922(a)(1)(A), 928(a), and 924(a)(1)(D); Title 18, United States Code,
Sections 922(a)(5) and 924(a)(1)(D); and Title 18, United States Code, Section
933(a)(1), as charged in Count One, Count Two, and Count Three of this Information,
the defendant,
CARLO M. DE LEON DE JESUS,
shall forfeit to the United States, pursuant to Title 18, United States Code, Section
924(d)(1), and Title 28, United States Code, Section 2461(c), any firearms and
ammunition involved in or used in the commission of such offenses, including, but
not limited to, the following:
(a) one Glock 19 pistol, bearing serial number AEFF317;
(b) one Extreme Gun Works X15 short barrel 5.56 caliber rifle, bearing
serial number X15-00211;
(c) one Century Arms International AK variant style rifle, bearing serial
number RC8634;
(d) one Beretta ARX 160, .22 LR semi-automatic handgun, bearing
serial number PB0O10073;
(e) 10 rounds of assorted 9mm ammunition;
(f) 12 rounds of Winchester .22 caliber ammunition; and

(g) 59 rounds of .22 caliber ammunition.
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FORFEITURE ALLEGATION TWO

Upon conviction of the offense in violation of Title 21, United States Code,

Section 846, as charged in Count Four of this Information, the defendant,
CARLO M. DE LEON DE JESUS,

shall forfeit to the United States, pursuant to Title 21, United States Code, Section
853, all right, title, and interest of the defendant in any and all property constituting
or derived from any proceeds the said defendant obtained directly or indirectly as a
result of violating Title 21, United States Code, Section 846, including any and all
property used or intended to be used in any manner or part to commit and to facilitate
the commission of the controlled substance offense alleged in Count Four of this

Information.
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SUBSTITUTE ASSETS PROVISION
(Applicable to All Forfeiture Allegations)

If any of the property described above, as a result of any act or omission of the

defendant:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third person;
(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be

subdivided without difficulty,
it is the intent of the United States, pursuant to Title 21, United States Code, Section
853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek
forfeiture of any other property of the defendant up to the value of the above-described

forfeitable property.

JOHN GIORDANO
United States Attorney

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CASE NUMBER: 25- CR-160-1

United States District Court
District of New Jersey

UNITED STATES OF AMERICA
Vv.
CARLO M. DE LEON DE JESUS

INFORMATION FOR

18 U.S.C. § 922(a)(1)(A)
18 U.S.C. § 923(a)
18 U.S.C. § 924(a)(1)(D)
18 U.S.C. § 922(a)(5)
18 U.S.C. § 933(a)(1)
21 U.S.C. § 846
21 U.S.C. §§ 841(a)(1) and (b)(1)(C)

JOHN GIORDANO

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FOR THE DISTRICT OF NEW JERSEY

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